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PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                  Harold Dennis OATS

Docket Number:                  1:05CR00394-001

Offender Address:               Bakersfield, California

Judicial Officer:               Honorable Anthony W. Ishii
                                United States District Judge
                                Fresno, California

Original Sentence Date:         07-03-06

Original Offense:               Cts. 1 through 4: 18 USC 1343 & 2 - Wire Fraud,
                                Aiding and Abetting
                                (CLASS C FELONIES)

Original Sentence:              Cts. 1 through 4: 10 mos. BOP; 36 mos. TSR; $400
                                special assessment; $12,520 restitution; mandatory
                                drug testing suspended

Special Conditions:             Warrantless search and seizure; financial disclosure;
                                credit restrictions; and, DNA collection

Type of Supervision:            Supervised Release

Supervision Commenced:          09/28/2006

Assistant U.S. Attorney:        Stanley A. Boone          Telephone: (559) 497-4000

Defense Attorney:               Carolyn D. Phillips       Telephone: (559) 248-9833

Other Court Action:

01/25/07:                       Violation Petition submitted alleging: 1) Failure to
                                Report to the Probation Officer; 2) Failure to Pay
                                Special Assessment and Restitution; and 3) Failure to
                                Notify Probation Officer Ten Days Prior to Any Change
                                in Residence. Since the defendant’s whereabouts
                                where unknown, the Court issued an arrest warrant. On
                                April 30, 2007, the defendant appeared before the

                                                                                               R ev. 10/2007
                                                               V IO LA T IO N __R P T N O N -C O M P LIA N C E
                                                                            & O R D E R (P R O B 12A 1).M R G
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                             Court and admitted the Petition. The Court revoked
                             supervised release and sentenced the defendant to two
                             months imprisonment with credit for time served. The
                             Court also ordered 22 months supervised release with
                             standard conditions of supervision and the following
                             special conditions: warrantless search and seizure;
                             financial disclosure; credit restrictions; substance abuse
                             counseling; substance abuse testing; 50 days CCC
                             placement; $25 co-payment; and, DNA collection.

07/13/07:                    Violation Petition submitted alleging Failure to Report to
                             the Probation Officer and Submit a Truthful and
                             Complete Written Report Within the First Five Days of
                             Each Month. Since the defendant’s whereabout were
                             unknown, the Court issued an arrest warrant. The
                             defendant admitted the Petition on September 4, 2007.
                             On September 17, 2007, the defendant’s supervised
                             release was revoked and he was sentenced to 4
                             months in the Bureau of Prisons, 30 months supervised
                             release, and standard conditions of supervision. The
                             following special conditions of supervision were also
                             ordered: warrantless search and seizure; not dissipate
                             assets; financial disclosure; credit restrictions;
                             substance abuse counseling; substance abuse testing;
                             co-payment; and, DNA collection. Previously imposed
                             criminal monetary penalties that remain unpaid were
                             also to remain in effect.

12/13/07:                    Violation Petition submitted alleging Failure to Report to
                             the Probation Office Within 72 Hours of Release From
                             Custody. The Court ordered a Warrant on December
                             17, 2007, in response to the Petition.




                                                                                             R ev. 10/2007
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                                       2                                  & O R D E R (P R O B 12A 1).M R G
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                            NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     ILLICIT DRUG USE


Details of alleged non-compliance: On December 20, 2007, the defendant reported to
the probation office for supervision instructions. The defendant admitted that since his
release from the Bureau of Prisons on November 28, 2007, he had used
methamphetamine. The probation officer advised the defendant that a warrant had
already been requested due to his failure to report to the probation office within 72 hours
of his release from custody. The defendant stated he had difficulties securing a stable
residence following his release from custody, but had recently rectified the problem.


United States Probation Officer Plan/Justification: Considering the defendant has
reported to the probation office for supervision instructions, and has displayed a degree
of responsibility for his recent violation conduct, it is recommended that the Court take no
negative action at the present time regarding the defendant's illicit drug use in order to
allow him to benefit from substance abuse treatment services. Additionally, it is
recommended the Court recall the supervised release warrant ordered on December 17,
2007, in order to implement supervision and treatment services.




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                                             3                                  & O R D E R (P R O B 12A 1).M R G
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                                Respectfully submitted,

                                       /s/ R. Walters

                                   R. WALTERS
                           United States Probation Officer
                             Telephone: (661) 861-4305

DATED:       December 21, 20070
             Bakersfield, California
             RCW:dk

                    /s/ Rick C. Louviere
REVIEWED BY:
                    RICK C. LOUVIERE
                    Supervising United States Probation Officer



THE COURT ORDERS:

(X)   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
      Taken At This Time.

( )   Submit a Request for Modifying the Conditions or Term of Supervision.

( )   Submit a Request for Warrant or Summons.

(X)   Other: The Court rescinds and recalls the Probation form 12C - Violation Petition
      dated December 13, 2007, and the warrant ordered on December 17, 2007.

IT IS SO ORDERED.

Dated:    December 21, 2007                    /s/ Anthony W. Ishii
0m8i78                                   UNITED STATES DISTRICT JUDGE




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                                             4                              & O R D E R (P R O B 12A 1).M R G
